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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


DAVID D. WILBON, RICO M. WILBON,       )
and GEORGE J. SMITH,                   )
                                       )
                        Plaintiffs,    )
       v.                              )              Case No. 12 C 1132
                                       )
JOSEPH M. PLOVANICH, OFFICER           )               Judge Marvin E. Aspen
MILLAN (Star # 6082), KEVIN A. GRANEY, )
ROBERT MANGAN, MICHAEL T.              )              Magistrate Judge
KARCZEWSKI, SARAH McDERMOTT,           )                 Geraldine Soat Brown
NOEL ESQUIVEL, ANTONIO J. VALENTIN, )
MARK A. KUSHINER, JORGE CERDA,         )               JURY TRIAL DEMANDED
ARMANDO SILVA, JR., RAFAEL S. GARCIA, )
J. J. GORZKOWSKI, UNKNOWN OFFICERS )
OF THE CHICAGO POLICE DEPARTMENT, )
and CITY OF CHICAGO,                   )
                                       )
                        Defendants.    )


                    FIRST AMENDED CIVIL RIGHTS COMPLAINT

       Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH, by

and through their attorney, Irene K. Dymkar, and complaining against defendants,

JOSEPH M. PLOVANICH, OFFICER MILLAN (Star # 6082), KEVIN A. GRANEY,

ROBERT MANGAN, MICHAEL T. KARCZEWSKI, SARAH McDERMOTT, NOEL

ESQUIVEL, ANTONIO J. VALENTIN, MARK A. KUSHINER, JORGE CERDA,

ARMANDO SILVA, JR., RAFAEL S. GARCIA, J. J. GORZKOWSKI, UNKNOWN

OFFICERS OF THE CHICAGO POLICE DEPARTMENT, and CITY OF CHICAGO,

state as follows:
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                                      NATURE OF CLAIM

         1.      This action arises under the United States Constitution and the laws of the United

States, specifically the Civil Rights Act of 1871 [42 U.S.C. § 1983], to redress deprivations of the

civil rights of plaintiffs through acts and/or omissions of defendants committed under color of

law. Specifically here, defendants deprived plaintiffs of their rights under the Fourth and

Fourteenth Amendments to the United States Constitution.

         2.      Additionally, plaintiffs rely upon the Court’s supplemental jurisdiction to

assert the Illinois state claims of malicious prosecution and indemnification.



                                 JURISDICTION AND VENUE

         3.      Jurisdiction is based upon 28 U.S.C. §§1343, 1331, and 1367.

         4.      Venue lies in the United States District Court, Northern District of Illinois,

pursuant to 28 U.S.C. §1391, because all events or omissions giving rise to this claim occurred in

this district.

                                             PARTIES

         5.      At all times herein mentioned, plaintiffs, DAVID D. WILBON (D. WILBON),

RICO M. WILBON ( R. WILBON), and GEORGE J. SMITH (G. SMITH), were and are

citizens of the United States and reside within the jurisdiction of the Court.

         6.      At all times herein mentioned, defendants JOSEPH M. PLOVANICH

(PLOVANICH), OFFICER MILLAN (Star # 6082) (MILLAN), KEVIN A. GRANEY

(GRANEY), ROBERT MANGAN (MANGAN), MICHAEL T. KARCZEWSKI

(KARCZEWSKI), SARAH McDERMOTT (McDERMOTT), NOEL ESQUIVEL



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(ESQUIVEL), ANTONIO J. VALENTIN (VALENTIN), MARK A. KUSHINER

(KUSHINER), JORGE CERDA (CERDA), ARMANDO SILVA, JR.(SILVA), RAFAEL S.

GARCIA (GARCIA), J. J. GORZKOWSKI (GORZKOWSKI), and UNKNOWN OFFICERS

OF THE CHICAGO POLICE DEPARTMENT (UNKNOWN OFFICERS) were officers

employed by the Chicago Police Department and were acting under color of state law and as

the employees or agents of the CITY OF CHICAGO, Illinois. They are being sued in their

individual capacity. Once the UNKNOWN OFFICERS have been identified, plaintiffs will

seek leave to amend this complaint.

       7.      Defendant CITY OF CHICAGO is a municipal corporation, duly organized

under the laws of the State of Illinois. Defendant CITY OF CHICAGO maintained, managed,

and/or operated the Chicago Police Department.



                                  STATEMENT OF FACTS

       8.      On April 10, 2010, at approximately 2:30 AM, plaintiffs, D. WILBON,

R. WILBON, and G. SMITH, were in a vehicle parked on the 5700 block of West Madison

Street in Chicago, Illinois, across the street from the 15th District Headquarters of the Chicago

Police Department located at 5701 W. Madison Street in Chicago, Illinois.

       9.      Plaintiffs were engaged in lawful conduct, talking to each other and to friends

on the telephone and in another vehicle that had also parked across from the police station.

       10.     A large number of Chicago police officers, believed to include PLOVANICH,

MILLAN, GRANEY, MANGAN, KARCZEWSKI, McDERMOTT, ESQUIVEL,

VALENTIN, KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, and UNKNOWN

OFFICERS, arrived in police vehicles and on foot and ordered plaintiffs out of their vehicle.


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       11.     Plaintiffs were searched by defendants, without a warrant and without consent.

       12.     The vehicle plaintiffs were in and their belongings in the vehicle were searched

by defendants, without a warrant and without consent.

       13      A female ranking officer came from the 15th District Headquarters and

conversed with the arresting officers and seemed to be giving directions.

       14.     Plaintiffs were formally arrested, without a clue as to why they were all being

arrested.

       15.     Plaintiffs were taken in police custody to the police station across the street.

       16.     The vehicle plaintiffs were in and their belongings were seized and the vehicle

was towed.

       17.     Plaintiffs were booked, processed, and put into jail cells.

       18.     Defendants charged plaintiffs with the crime of mob action, alleged to have

occurred more than 1-1/2 miles away, on the 1300 block of N. Menard Street in Chicago,

Illinois. Plaintiff D. WILBON was also charged with two counts of aggravated assault of a

police officer, alleged to have occurred more than 1-1/2 miles away. Plaintiff G. SMITH was

also charged with possession of cannabis.

       19.     The charges were reviewed and approved by defendants KARCZEWSKI,

GORZKOWSKI, and McDERMOTT, who were the supervising officers.

       20.     Plaintiffs were incarcerated until the next morning, when they were released.

       21.     Plaintiffs do not know what happened on the 1300 block of N. Menard Street

or why they were charged with violent crimes allegedly occurring at that location.




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       22.     All criminal charges were dismissed by operation of law under circumstances

consistent with innocence. Plaintiffs did not negotiate the dismissal, nor was the dismissal the

result of any promises, deals, agreements, or benefits of any sort. The charges were dismissed

because defendants had no probable cause to justify plaintiffs’ arrest and prosecution.

       23.     By reason of the above-described acts and omissions of the defendant police

officers, plaintiffs sustained injuries, humiliation, and indignities, and suffered great mental

and emotional pain and suffering, all to their damage.

       24.     The aforementioned acts of the defendant police officers were willful, wanton,

malicious, oppressive, and done with reckless indifference to and/or callous disregard for

plaintiffs’ rights and justify the awarding of exemplary and punitive damages.

       25.     By reason of the above-described acts and omissions of the defendant officers,

plaintiffs were required to retain an attorney to institute, prosecute and render legal assistance

to them in the within action, so that they might vindicate the loss and impairment of their

rights. By reason thereof, plaintiffs request payment by defendants of a reasonable sum for

attorneys’ fees pursuant to 42 U.S.C. §1988, the Equal Access to Justice Act, or any other

provision set by law.


                                    COUNT I
Plaintiffs, D. WILBON, R. WILBON, and G. SMITH, Against Defendants, PLOVANICH,
     MILLAN, GRANEY, MANGAN, KARCZEWSKI, McDERMOTT, ESQUIVEL,
  VALENTIN, KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, UNKNOWN
                 OFFICERS, and CITY OF CHICAGO, for False Arrest

       26.     Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH,

incorporate and reallege paragraphs 1 – 25, as though set forth herein in their entirety.




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       27.     The seizure, arrest, and incarceration of plaintiffs, D. WILBON, R. WILBON,

and G. SMITH, for the purpose of charging them with false crimes, were without probable cause

and unreasonable.

       28.     By reason of the conduct of the individual defendants, plaintiffs, D. WILBON,

R. WILBON, and G. SMITH, were deprived of rights, privileges and immunities secured to them

by the Fourth and Fourteenth Amendments to the Constitution of the United States and laws

enacted thereunder. Therefore, defendants PLOVANICH, MILLAN, GRANEY, MANGAN,

KARCZEWSKI, McDERMOTT, ESQUIVEL, VALENTIN, KUSHINER, CERDA, SILVA,

GARCIA, GORZKOWSKI, and UNKNOWN OFFICERS, and each of them, is liable to

plaintiffs pursuant to 42 U.S.C. §1983.

       29.     The misconduct described in this Count was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

               a.      As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type

                       of police misconduct at issue here by failing to adequately train,

                       supervise, and control its officers, such that its failure to do so manifests

                       deliberate indifference.

               b.      As a matter of both policy and procedure, the Chicago Police Department

                       facilitates the very type of police misconduct at issue here by failing to

                       adequately punish and discipline prior instances of misconduct, thereby

                       leading Chicago police officers to believe their actions will never be




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                      scrutinized and, in that way, directly encourages future abuses such as

                      those affecting plaintiff.

              c.      Generally, as a matter of widespread practice so prevalent as to comprise

                      municipal policy, officers of the Chicago Police Department falsely arrest

                      citizens in a manner similar to that alleged by plaintiffs in this Count on a

                      frequent basis, yet the Chicago Police Department makes findings of

                      wrongdoing in a disproportionately small number of cases.

              d.      Municipal policy-makers are aware of, and condone and facilitate by their

                      inaction, a “code of silence” in the Chicago Police Department, by which

                      officers fail to report misconduct committed by other officers, such as the

                      misconduct at issue in this case.

              e.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                      described in the preceding paragraphs, despite actual knowledge of same,

                      thereby causing the types of injuries alleged here.

       30.    By reason of the policy and practice of the Chicago Police Department, plaintiffs,

DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH, were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, the CITY OF

CHICAGO is liable to plaintiffs pursuant to 42 U.S.C. §1983.




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                                   COUNT II
Plaintiffs, D. WILBON, R. WILBON, and G. SMITH, Against Defendants, PLOVANICH,
     MILLAN, GRANEY, MANGAN, KARCZEWSKI, McDERMOTT, ESQUIVEL,
  VALENTIN, KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, UNKNOWN
  OFFICERS, and CITY OF CHICAGO, for Unconstitutional Search of Their Persons

       31.     Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH,

incorporate and reallege paragraphs 1 – 25, as though set forth herein in their entirety.

       32.     The intrusion by the individual defendants into plaintiffs’ security and privacy by

searching their persons was arbitrary, unreasonable, and without legal cause.

       33.     By reason of the conduct of the individual defendants, plaintiffs, D. WILBON, R.

WILBON, and G. SMITH, were deprived of rights, privileges and immunities secured to them by

the Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendants MILLAN, PLOVANICH, GRANEY, MANGAN,

KARCZEWSKI , ESQUIVEL, VALENTIN, KUSHINER, CERDA, SILVA, GARCIA,

GORZKOWSKI,, and UNKNOWN OFFICERS, and each of them, is liable to plaintiffs pursuant

to 42 U.S.C. §1983.

       34.     The misconduct described in this Count was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

               a.      As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type

                       of police misconduct at issue here by failing to adequately train,

                       supervise, and control its officers, such that its failure to do so manifests

                       deliberate indifference.




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              b.     As a matter of both policy and procedure, the Chicago Police Department

                     facilitates the very type of police misconduct at issue here by failing to

                     adequately punish and discipline prior instances of misconduct, thereby

                     leading Chicago police officers to believe their actions will never be

                     scrutinized and, in that way, directly encourages future abuses such as

                     those affecting plaintiff.

              c.     Generally, as a matter of widespread practice so prevalent as to comprise

                     municipal policy, officers of the Chicago Police Department conduct

                     illegal searches of the person of citizens in a manner similar to that

                     alleged by plaintiffs in this Count on a frequent basis, yet the Chicago

                     Police Department makes findings of wrongdoing in a disproportionately

                     small number of cases.

              d.     Municipal policy-makers are aware of, and condone and facilitate by their

                     inaction, a “code of silence” in the Chicago Police Department, by which

                     officers fail to report misconduct committed by other officers, such as the

                     misconduct at issue in this case.

              e.     The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                     described in the preceding paragraphs, despite actual knowledge of same,

                     thereby causing the types of injuries alleged here.

       35.    By reason of the policy and practice of the Chicago Police Department, plaintiffs,

DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH, were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the



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Constitution of the United States and laws enacted thereunder. Therefore, the CITY OF

CHICAGO is liable to plaintiffs pursuant to 42 U.S.C. §1983.


                                   COUNT III
Plaintiffs, D. WILBON, R. WILBON, and G. SMITH, Against Defendants, PLOVANICH,
     MILLAN, GRANEY, MANGAN, KARCZEWSKI, McDERMOTT, ESQUIVEL,
  VALENTIN, KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, UNKNOWN
OFFICERS, and CITY OF CHICAGO, for Unconstitutional Search and Seizure of Vehicle
                                and Its Contents

         36.   Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH,

incorporate and reallege paragraphs 1 – 25, as though set forth herein in their entirety.

         37.   The intrusion by the individual defendants into plaintiffs’ security and privacy by

searching and seizing their vehicle and its contents was arbitrary, unreasonable, and without legal

cause.

         38.   By reason of the conduct of the individual defendants, plaintiffs, D. WILBON,

R. WILBON, and G. SMITH, were deprived of rights, privileges and immunities secured to them

by the Fourth and Fourteenth Amendments to the Constitution of the United States and laws

enacted thereunder. Therefore, defendants MILLAN, PLOVANICH, GRANEY, MANGAN,

KARCZEWSKI , ESQUIVEL, VALENTIN, KUSHINER, CERDA, SILVA, GARCIA,

GORZKOWSKI,, and UNKNOWN OFFICERS, and each of them, is liable to plaintiffs pursuant

to 42 U.S.C. §1983.

         39.   The misconduct described in this Count was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

               a.      As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type

                       of police misconduct at issue here by failing to adequately train, supervise,


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                    and control its officers, such that its failure to do so manifests deliberate

                    indifference.

             b.     As a matter of both policy and procedure, the Chicago Police Department

                    facilitates the very type of police misconduct at issue here by failing to

                    adequately punish and discipline prior instances of misconduct, thereby

                    leading Chicago police officers to believe their actions will never be

                    scrutinized and, in that way, directly encourages future abuses such as

                    those affecting plaintiff.

             c.     Generally, as a matter of widespread practice so prevalent as to comprise

                    municipal policy, officers of the Chicago Police Department illegally

                    search and seize vehicles and personal property in a manner similar to that

                    alleged by plaintiffs in this Count on a frequent basis, yet the Chicago

                    Police Department makes findings of wrongdoing in a disproportionately

                    small number of cases.

             d.     Municipal policy-makers are aware of, and condone and facilitate by their

                    inaction, a “code of silence” in the Chicago Police Department, by which

                    officers fail to report misconduct committed by other officers, such as the

                    misconduct at issue in this case.

             e.     The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                    described in the preceding paragraphs, despite actual knowledge of same,

                    thereby causing the types of injuries alleged here.

      40.    By reason of the policy and practice of the Chicago Police Department, plaintiffs,

DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH, were deprived of rights,



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privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, the CITY OF

CHICAGO is liable to plaintiffs pursuant to 42 U.S.C. §1983.


                                   COUNT IV
Plaintiffs, D. WILBON, R. WILBON, and G. SMITH, Against Defendants, PLOVANICH,
     MILLAN, GRANEY, MANGAN, KARCZEWSKI, McDERMOTT, ESQUIVEL,
  VALENTIN, KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, UNKNOWN
               OFFICERS, and CITY OF CHICAGO, for Failure to Intervene

       41.     Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH,

incorporate and reallege paragraphs 1 – 25, as though set forth herein in their entirety.

       42.     Defendant police officers were present when plaintiffs and their possessions were

searched and seized, and they were arrested and charged with crimes, all without probable cause

to believe that they had committed any crimes.

       43.     Defendants had reason to know that the seizure and arrest of plaintiffs and the

search and seizure of their persons and possessions were without a valid warrant, without

consent, without probable cause, and without exigent circumstances.

       44.     Defendants had a reasonable opportunity to prevent said abuse and injury from

occurring, but did not do so.

       45.     By reason of the conduct of the individual defendants, plaintiffs, D. WILBON, R.

WILBON, and G. SMITH, were deprived of rights, privileges and immunities secured to them by

the Fourth and Fourteenth Amendments to the Constitution of the United States and laws enacted

thereunder. Therefore, defendants MILLAN, PLOVANICH, GRANEY, MANGAN,

KARCZEWSKI , ESQUIVEL, VALENTIN, KUSHINER, CERDA, SILVA, GARCIA,




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GORZKOWSKI,, and UNKNOWN OFFICERS, and each of them, is liable to plaintiffs pursuant

to 42 U.S.C. §1983.

       46.     The misconduct described in this Count was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

               a.     As a matter of both policy and practice, the Chicago Police Department

                      directly encourages, and thereby the moving force behind, the very type

                      of police misconduct at issue here by failing to adequately train,

                      supervise, and control its officers, such that its failure to do so manifests

                      deliberate indifference.

               b.     As a matter of both policy and procedure, the Chicago Police Department

                      facilitates the very type of police misconduct at issue here by failing to

                      adequately punish and discipline prior instances of misconduct, thereby

                      leading Chicago police officers to believe their actions will never be

                      scrutinized and, in that way, directly encourages future abuses such as

                      those affecting plaintiff.

               c.     Generally, as a matter of widespread practice so prevalent as to comprise

                      municipal policy, officers of the Chicago Police Department fail to

                      intervene in unconstitutional conduct in a manner similar to that alleged

                      by plaintiffs in this Count on a frequent basis, yet the Chicago Police

                      Department makes findings of wrongdoing in a disproportionately small

                      number of cases.




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               d.      Municipal policy-makers are aware of, and condone and facilitate by their

                       inaction, a “code of silence” in the Chicago Police Department, by which

                       officers fail to report misconduct committed by other officers, such as the

                       misconduct at issue in this case.

               e.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                       described in the preceding paragraphs, despite actual knowledge of same,

                       thereby causing the types of injuries alleged here.

       47.     By reason of the policy and practice of the Chicago Police Department, plaintiffs,

DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH, were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, the CITY OF

CHICAGO is liable to plaintiffs pursuant to 42 U.S.C. §1983.


                                  COUNT V
     Plaintiffs, D. WILBON, R. WILBON, and G. SMITH, Against Defendants
 KARCZEWSKI, McDERMOTT, GORZKOWSKI, UNKNOWN OFFICERS, and CITY
                      OF CHICAGO for Supervisory Liability

       48.     Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH,

incorporate and reallege paragraphs 1 – 25, as though set forth herein in their entirety. By

incorporating and realleging paragraphs 1 - 25, plaintiffs specifically reassert the following

against defendants KARCZEWSKI, McDERMOTT, GORZKOWSKI and UNKNOWN

OFFICERS:

               a.      While plaintiffs were engaged in lawful conduct, defendants

                       KARCZEWSKI, McDERMOTT, GORZKOWSKI, UNKNOWN



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                   OFFICERS, and other defendant officers arrived in police vehicles and on

                   foot and order plaintiffs out of their vehicle (Paragraph 9, 10).

             b.    Defendants KARCZEWSKI, McDERMOTT, GORZKOWSKI,

                   UNKNOWN OFFICERS, and other defendant officers searched

                   plaintiffs, without a warrant and without consent (Paragraph 11).

             c.    Defendants KARCZEWSKI, McDERMOTT, GORZKOWSKI,

                   UNKNOWN OFFICERS, and other defendant officers searched the

                   vehicle plaintiffs were in and their belongings in the vehicle, without a

                   warrant and without consent (Paragraph 12).

             d.    Defendants KARCZEWSKI, McDERMOTT, GORZKOWSKI,

                   UNKNOWN OFFICERS, and other defendant officers formally arrested

                   plaintiffs, and they were taken in police custody across the street to the

                   police station (Paragraphs 14, 15).

             e.    The vehicle plaintiffs were in and their belongings were seized and the

                   vehicle towed (Paragraph 16).

             f.    Plaintiffs were booked, processed, and put into jail cells (Paragraph 17).

             g.    Defendants KARCZEWSKI, McDERMOTT, GORZKOWSKI,

                   UNKNOWN OFFICERS, and other defendants charged plaintiffs with

                   mob action and plaintiff D. WILBON additionally with two counts of

                   aggravated assault of a police officer for incidents alleged to have

                   occurred 1-1/2 miles away (Paragraph 18).




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                h.     In addition to being present and participating in the false arrest, illegal

                        search, and other constitutional conduct, defendants KARCZEWSKI,

                        McDERMOTT, GORZKOWSKI and UNKNOWN OFFICERS were

                        supervisory officers who reviewed and approved criminal charges against

                        plaintiffs (Paragraph 19).

        49.    As supervisory officers who were present and engaged in the above acts of

commission and omission, defendants KARCZEWSKI, McDERMOTT, GORZKOWSKI and

UNKNOWN OFFICERS approved, condoned, or turned a blind eye to the unconstitutional

conduct against plaintiffs and are therefore liable as supervisors.

        50.    Plaintiffs, D. WILBON, R. WILBON, and G. SMITH, were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, defendants

KARCZEWSKI, McDERMOTT, GORZKOWSKI and UNKNOWN OFFICERS, and each of

them, is liable to plaintiffs pursuant to 42 U.S.C. §1983.

        51.    The misconduct described in this Count was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

                a.      As a matter of both policy and practice, the Chicago Police Department

                        directly encourages, and thereby the moving force behind, the very type of

                        police misconduct at issue here by failing to adequately train, supervise,

                        and control its officers, such that its failure to do so manifests deliberate

                        indifference.

                b.     As a matter of both policy and procedure, the Chicago Police Department

                        facilitates the very type of police misconduct at issue here by failing to


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                      adequately punish and discipline prior instances of misconduct, thereby

                      leading Chicago police officers to believe their actions will never be

                      scrutinized and, in that way, directly encourages future abuses such as

                      those affecting plaintiff.

              c.      Generally, as a matter of widespread practice so prevalent as to comprise

                      municipal policy, officers of the Chicago Police Department improperly

                      exercise supervisory authority in a manner similar to that alleged by

                      plaintiffs in this Count on a frequent basis, yet the Chicago Police

                      Department makes findings of wrongdoing in a disproportionately small

                      number of cases.

              d.      Municipal policy-makers are aware of, and condone and facilitate by their

                      inaction, a “code of silence” in the Chicago Police Department, by which

                      officers fail to report misconduct committed by other officers, such as the

                      misconduct at issue in this case.

              e.      The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                      described in the preceding paragraphs, despite actual knowledge of same,

                      thereby causing the types of injuries alleged here.

       52.    By reason of the policy and practice of the Chicago Police Department, plaintiffs,

D. WILBON, R. WILBON, and G. SMITH, were deprived of rights, privileges and immunities

secured to them by the Fourth and Fourteenth Amendments to the Constitution of the United

States and laws enacted thereunder. Therefore, the CITY OF CHICAGO is liable to plaintiffs

pursuant to 42 U.S.C. §1983.



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                               COUNT VI
Plaintiffs, D. WILBON, R. WILBON, and G. SMITH, Against Defendants, PLOVANICH,
     MILLAN, GRANEY, MANGAN, KARCZEWSKI, McDERMOTT, ESQUIVEL,
  VALENTIN, KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, UNKNOWN
     OFFICERS, and CITY OF CHICAGO, for Conspiracy Pursuant to Section 1983

       53.     Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH,

incorporate and reallege paragraphs 1 – 25, as though set forth herein in their entirety.

       54.     The above acts were committed with knowledge and by agreement of defendants

PLOVANICH, MILLAN, GRANEY, MANGAN, KARCZEWSKI, McDERMOTT,

ESQUIVEL, VALENTIN, KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, and

UNKNOWN OFFICERS to act in concert to violate the constitutional rights of plaintiffs,

D. WILBON, R. WILBON, and G. SMITH.

       55.     By reason of the conduct of defendant police officers PLOVANICH, MILLAN,

GRANEY, MANGAN, KARCZEWSKI, McDERMOTT, ESQUIVEL, VALENTIN,

KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, and UNKNOWN OFFICERS,

plaintiffs, D. WILBON, R. WILBON, and G. SMITH, were deprived of rights, privileges and

immunities secured to them by the Fourth and Fourteenth Amendments to the Constitution of the

United States and laws enacted thereunder. Therefore, the individual defendants are liable to

plaintiffs pursuant to 42 U.S.C. §1983.

       56.     The misconduct described in this Count was undertaken pursuant to the policy

and practice of the Chicago Police Department in that:

               a.      As a matter of both policy and practice, the Chicago Police Department

                       directly encourages, and thereby the moving force behind, the very type of

                       police misconduct at issue here by failing to adequately train, supervise,



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                   and control its officers, such that its failure to do so manifests deliberate

                   indifference.

             b.    As a matter of both policy and procedure, the Chicago Police Department

                   facilitates the very type of police misconduct at issue here by failing to

                   adequately punish and discipline prior instances of misconduct, thereby

                   leading Chicago police officers to believe their actions will never be

                   scrutinized and, in that way, directly encourages future abuses such as

                   those affecting plaintiff.

             c.    Generally, as a matter of widespread practice so prevalent as to comprise

                   municipal policy, officers of the Chicago Police Department agree to act

                   in concert to violate the constitutional rights of citizens in a manner

                   similar to that alleged by plaintiffs in this Count on a frequent basis, yet

                   the Chicago Police Department makes findings of wrongdoing in a

                   disproportionately small number of cases.

             d.    Municipal policy-makers are aware of, and condone and facilitate by their

                   inaction, a “code of silence” in the Chicago Police Department, by which

                   officers fail to report misconduct committed by other officers, such as the

                   misconduct at issue in this case.

             e.    The CITY OF CHICAGO has failed to act to remedy the patterns of abuse

                   described in the preceding paragraphs, despite actual knowledge of same,

                   thereby causing the types of injuries alleged here.




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        57.    By reason of the policy and practice of the Chicago Police Department, plaintiffs,

DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH, were deprived of rights,

privileges and immunities secured to them by the Fourth and Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder. Therefore, the CITY OF

CHICAGO is liable to plaintiffs pursuant to 42 U.S.C. §1983.



                                   COUNT VII
Plaintiffs, D. WILBON, R. WILBON, and G. SMITH, Against Defendants, PLOVANICH,
     MILLAN, GRANEY, MANGAN, KARCZEWSKI, McDERMOTT, ESQUIVEL,
  VALENTIN, KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, UNKNOWN
  OFFICERS, and CITY OF CHICAGO, for the State Supplemental Claim of Malicious
                                   Prosecution

        58.    Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH,

incorporate and reallege paragraphs 1 – 25, as though set forth herein in their entirety.

        59.    The individual defendants maliciously caused criminal charges to be filed and

prosecuted against plaintiffs, D. WILBON, R. WILBON, and G. SMITH.

        60.    There was no probable cause for the institution of criminal charges against

plaintiffs.

        61.    There was no probable cause for the continuation of the prosecution of plaintiffs.

        62.    The individual defendants facilitated this malicious prosecution by creating false

police reports, false written criminal charges, and false evidence, and making false statements

under oath.

        63.    Plaintiffs were wrongfully incarcerated as a direct result of the institution and

prosecution of the criminal charges.




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        64.     Plaintiffs were injured emotionally and otherwise from the loss of certain liberty

and related rights.

        65.     The criminal proceedings were terminated in plaintiffs’ favor, after the charges

were stricken on leave to reinstate and the State’s Attorney declined to reinstate the charges:

                a..    The criminal charges against plaintiffs R. WILBON and G. SMITH were

                       stricken on leave to reinstate on June 1, 2010, but no speedy trial demand

                       was made. Hence, the malicious prosecution action accrued upon the

                       expiration of the 18-month statute of limitations (720 ILCS 5/3-5(b)), that

                       is, on December 1, 2011.

                b.     The criminal charges against plaintiff D. WILBON were stricken on leave

                       to reinstate on September 10, 2010. A speedy trial demand was made by

                       plaintiff. Hence, the malicious prosecution action accrued upon the

                       expiration of the speedy trial period of 160 days (725 ILCS § 103-5(b)),

                       that is, on February 17, 2011.

        66.     Defendants MILLAN, PLOVANICH, GRANEY, MANGAN, KARCZEWSKI ,

ESQUIVEL, VALENTIN, KUSHINER, CERDA, SILVA, GARCIA, GORZKOWSKI, and

UNKNOWN OFFICERS are liable to plaintiffs under Illinois law for the state supplemental

claim of malicious prosecution.

        67.     Defendant CITY OF CHICAGO is liable for the acts of the individual defendants

pursuant to the doctrine of respondeat superior.




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                                   COUNT VIII
   Plaintiffs, D. WILBON, R. WILBON, and G. SMITH, Against Defendant CITY OF
                   CHICAGO for Indemnification (735 ILCS 10/9-102)

       68.     Plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J. SMITH,

incorporate and reallege paragraphs 1 – 25, as though set forth herein in their entirety.

       69.     In Illinois, public entities are directed to pay any tort judgment for compensatory

damages for which employees are liable within the scope of their employment activities.

       70.     Defendants PLOVANICH, MILLAN, GRANEY, MANGAN, KARCZEWSKI,

McDERMOTT, ESQUIVEL, VALENTIN, KUSHINER, CERDA, SILVA, GARCIA,

GORZKOWSKI, and UNKNOWN OFFICERS were employees of the CITY OF CHICAGO

and acted within the scope of their employment in committing the misconduct described herein.

       71.     Defendant CITY OF CHICAGO is thus liable under the theory of

indemnification.

       WHEREFORE, plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J.

SMITH, by and through their attorney, Irene K. Dymkar, request judgment as follows against the

defendants, JOSEPH M. PLOVANICH, OFFICER MILLAN (Star # 6082), KEVIN A.

GRANEY, ROBERT MANGAN, MICHAEL T. KARCZEWSKI, SARAH McDERMOTT,

NOEL ESQUIVEL, ANTONIO J. VALENTIN, MARK A. KUSHINER, JORGE CERDA,

ARMANDO SILVA, JR., RAFAEL S. GARCIA, J. J. GORZKOWSKI, UNKNOWN

OFFICERS OF THE CHICAGO POLICE DEPARTMENT, and CITY OF CHICAGO, on each

and every claim:

               1.      That defendants be required to pay plaintiffs general damages, including
                       emotional distress, in a sum to be ascertained at a trial of this matter,

               2.      That defendants be required to pay plaintiffs special damages,


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               3.      That defendants be required to pay the plaintiffs attorneys’ fees pursuant
                       to 42 U.S.C. §1988, the Equal Access to Justice Act, or any other
                       applicable provision,

               4.      That defendants, except CITY OF CHICAGO, be required to pay
                       plaintiffs exemplary and punitive damages in a sum to be ascertained at a
                       trial of this matter,

               5.      That defendants be required to pay plaintiffs costs of the suit herein
                       incurred, and

               6.      That plaintiffs be granted such other and further relief as this Court may
                       deem just and proper


       PLAINTIFFS HEREBY REQUEST A TRIAL BY JURY.



Dated: May 31, 2012                                             /s/ Irene K. Dymkar
                                                                    Irene K. Dymkar

Irene K. Dymkar
Attorney for Plaintiffs
300 W. Adams Street, Suite 330
Chicago, IL 60606-5107
(312) 345-0123



                                CERTIFICATE OF SERVICE

       I, Irene K. Dymkar, an attorney, certify that on the 5th day of June, 2012, a copy of this
amended complaint was served upon the attorneys for defendants named below through the
Court’s electronic filing system.

                                       Andrea E. Cook
                                       Sunil Bhave
                                       George J.Yamin
                                       Lindsey M. Vanorny
                                       City of Chicago Law Department
                                       30 N. LaSalle, Ste. 900
                                       Chicago, IL 60602

Dated: June 5, 2012                                       /s/        Irene K. Dymkar
                                                                     Irene K. Dymkar



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